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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

WILLIAM CECIL,

   Plaintiff,                                  CASE NO.: 3:16-CV-00605-CRS

-vs-

CAPITAL ONE BANK (USA), N.A.,

   Defendant.
                                   /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW the Plaintiff, WILLIAM CECIL, and the Defendant, Capital One

Bank (USA), N.A., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to

dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the

Defendant in the above styled action, with Plaintiff and Defendant to bear their own

attorney’s fees, costs and expenses.

        Respectfully submitted this 11th day of April, 2017.



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